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                              UNITED STATES OF AMERICA

       IN THE WESTERN DISTRICT OF MICHIGAN – SOUTHERN DIVISION

Derek Antol, individually and as next friend of          File No: 1:17-cv-613
DSAII, a minor, and Devon S. Antol, and
Tryston Antol,
       Plaintiffs,

v.

Adam Dent, Kate Straus,                         Hon. Janet T. Neff
Casey Bringedahl, Casey Trucks,                 U.S. District Court Judge
Pete Kutches, and Western Michigan
Enforcement Team, a public
body organized under the laws of the
State of Michigan,
        Defendants,
___________________________________________________________________/

     PLAINTIFFS' OPPOSITION TO MOTION FOR SUMMARY JUDGMENT BY
         DEFENDANTS DENT, STRAUS, BRINGEDAHL, AND KUTCHES

                         Attachment 8 – deposition of Matthew Roberts
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